Case 1:20-cr-00314-JMS-TAB Document 5 Filed 10/28/20 Page 1 of 1 PageID #: 11



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                        )
               Plaintiff                         )
                                                   )
              v.                                   )    1:20-mj-166-TAB
                                                   )
                                                   )
DONTE SWINTON,                                     )
             Defendant.                           )


                                     APPEARANCE

TO: CLERK OF COURT

       Please enter the appearance of Dominic D. Martin, Indiana Federal Community

Defenders, Inc., as counsel for the Defendant.

Dated: October 28, 2020

                                          Dominic D. Martin
                                          Dominic D. Martin
                                          Indiana Federal Community Defenders, Inc.
                                          111 Monument Circle, Ste. 3200
                                          Indianapolis, IN. 46204
                                          (317) 383-3520
                                          Attorney for Defendant

                              CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2020, a copy of the foregoing Appearance
was filed electronically. Service of this filing will be made on all ECF-registered counsel
by operation of the court's electronic filing system. Parties may access this filing through
the court's system.


                                          Dominic D. Martin
                                          Dominic D. Martin
